 Case: 4:22-cv-00635-SRC           Doc. #: 310 Filed: 06/06/25            Page: 1 of 3 PageID #:
                                             7162



                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 WANDA BRANDON et al.,                         )
                                               )
         Plaintiffs,                           )
                                               )
         v.                                    )          Case No. 4:22-cv-00635-SRC
                                               )
 BOARD OF EDUCATION OF THE                     )
 CITY OF ST. LOUIS et al.,                     )
                                               )
         Defendants.                           )
                                               )

                                               Order

       The Court “has the inherent power to reconsider and modify an interlocutory order any

time prior to the entry of judgment.” K.C. 1986 Ltd. P’ship v. Reade Mfg., 472 F.3d 1009, 1017

(8th Cir. 2007) (quoting Murr Plumbing, Inc. v. Scherer Bros. Fin. Servs. Co., 48 F.3d 1066,

1070 (8th Cir. 1995)). In light of intervening Eighth Circuit precedent, the Court questions the

viability of part of its prior holding regarding the admissibility of certain expert testimony, so the

Court orders the parties to brief the issue as described below.

       The Court previously held that the Board of Education of the City of St. Louis’s expert

witness, Dr. Daniel Salmon, may not render “opinions about stem cells and stem cells’

connection to COVID-19 vaccines.” Doc. 229 at 11 (The Court cites to page numbers as

assigned by CM/ECF.). The Court reasoned:

       Plaintiffs alleged in their complaint that their “religious beliefs prevented them
       from receiving the vaccination due to their use of fetal stem cells taken from aborted
       fetuses.” But once again, Dr. Salmon admitted that he didn’t know anything about
       Plaintiffs, and it follows that Dr. Salmon does not (and cannot) opine on the extent
       to which the stem-cell issue influenced Plaintiffs’ objections to COVID-19
       vaccination. Objective facts about the vaccines’ connections to stem cells have no
       bearing on whether Plaintiffs objected to vaccination based on their religious
 Case: 4:22-cv-00635-SRC            Doc. #: 310 Filed: 06/06/25            Page: 2 of 3 PageID #:
                                              7163



        beliefs, which “need not be acceptable, logical, consistent, or comprehensible to
        others” to merit protection under the law.

Id. (citations omitted).

        But in Kale v. Aero Simulation, Inc., No. 23-3380, 2025 WL 1585297 (8th Cir. June 5,

2025), the Eighth Circuit indicated that objective facts about employment requirements might

have some relevance to a plaintiff’s religious-discrimination claims. The Court summarized

Kale at length in a prior order. See doc. 308 at 1–2. The Eighth Circuit affirmed the dismissal of

Matthew Kale’s complaint, in part, because Kale failed to make sufficient “factual allegations

about the nature of the Covid-19 test” that his employer tried to make him take. Kale, 2025 WL

1585297, at *3. In other words, Kale’s general allegation that a COVID-19 test would cause an

“unwanted intrustion[] into [his] body” did not suffice—Kale needed explain how the test would

“intrude[] into Kale’s body in violation of his alleged religious beliefs.” Id. That explanation

seems to require consideration of some objective information about the test. And, although Kale

affirmed the grant of a motion to dismiss, the elements that a plaintiff must plead to survive a

motion to dismiss have a direct relationship to the elements that a plaintiff must prove to prevail

at trial. See Fed. R. Civ. P. 8(a)(2) (providing that a complaint must contain “a short and plain

statement of the claim showing that the pleader is entitled to relief”).

        Here, the parties agree that, for Plaintiffs to prevail on their Title VII claims, they must

prove that their sincerely held religious beliefs “conflicted with an employment requirement.”

Doc. 284; doc. 204 at 11 (noting that the parties do not object to this element). Kale reiterates

that that element applies to Plaintiffs’ Free Exercise claims, too. See Kale, 2025 WL 1585297, at

*1 (“For each religious discrimination claim—Title VII, RFRA, and First Amendment—Kale

must plausibly allege a bona fide religious belief that was burdened by an employment

requirement.”). And as explained above, Kale seems to suggest that, to assess whether an

                                                   2
 Case: 4:22-cv-00635-SRC           Doc. #: 310 Filed: 06/06/25           Page: 3 of 3 PageID #:
                                             7164



employment requirement and a sincerely held religious belief conflict, a court must consider not

only the “specific religious beliefs” at issue but also the objective reality of the employment

requirement. Id. at *3. In light of all this, the Court questions whether its prior holding

excluding Dr. Salmon’s opinions about stem cells and stem cells’ connection to COVID-19

vaccines can survive Kale.

       Accordingly, the Court orders the parties to file, no later than noon on June 10, 2025,

supplemental briefs on whether the Court should reconsider its holding excluding Dr. Salmon’s

opinions about stem cells and stem cells’ connection to COVID-19 vaccines. Each party’s brief

must not exceed five double-spaced pages, exclusive of a signature page and attachments.

       So ordered this 6th day of June 2025.



                                               STEPHEN R. CLARK
                                               CHIEF UNITED STATES DISTRICT JUDGE




                                                  3
